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                                   United States District Court
                                    Western District of Texas
                                        El Paso Division

 United States of America,
       Plaintiff,

        v.                                                         EP-23-CR-0465-FM

 (1) JOSEPH ROCHA-CHAPARRO,
        Defendant.

                      United States' Motion to Detain Defendant Without
                              Bond and Motion for Continuance

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and pursuant to 18 U.S.C. ' 3142(e) and (f), files this, its Motion to

Detain Defendant Without Bond and Motion for Continuance, and for cause, would respectfully

show unto the Court the following:

       1.      The Defendant has been charged by Indictment with violations of Title 18, United

States Code, Section 933, Trafficking in Firearms (Count 1); Title 18, United States Code, Section

932, Straw Purchasing of Firearms (Count 2); and Title 18, United States Code, Section 371,

Conspiracy (Count 3).

       2.      The Defendant is a United States citizen, however, Defendant presents a high risk

of fleeing the jurisdiction to avoid prosecution on this charge.

       3.      The Defendant has a prior criminal history.

       4.      There are no conditions or combination of conditions which will reasonably assure

the safety of the community should the Defendant be released on bond.

       5.      There are no conditions or combination of conditions which will reasonably assure

the appearance of the Defendant at future court settings.
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       The Government would further move the Court for a three day continuance of the detention

hearing from the date of the initial appearance.

       WHEREFORE, premises considered, the Government respectfully prays the Court to hold

the above-named Defendant without bail pending the final outcome of this case.

                                              Respectfully submitted,

                                              JAIME ESPARZA
                                              UNITED STATES ATTORNEY


                                      By:     _________________________________
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